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E.D Pa AO Pro Sc 14 ( Rev. 04/ 18} Complaint for Violation of Civil Rights



                                         UNITED STATES DISTRICT COURT
                                                                                                             for the

                                                                            Eastern District of Pennsylvania




                                                                                                               )       Case No.

                                             -\                 \c- - -- -                                     )
                                                                                                               )
                                                                                                                                  (w be filled in by 1he Clerk's Office)

                              Plaintifl(s)
                                                                                                               )
(Write 1hef11// name ofeach plai11tiflwho is filing !his complain/.
If rhe names of all the plaintiffs ccmnotfii in the space above,                                               )
please write "see al/ached" in the space and a/loch an addi1ional                                              )
page with the.full lis1 ofnm11es.)                                                                             )
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   _)                                                                                                          )
                             Defendmu(s)                                                                       )
(Write the fu ll name of each defendant who is being sued. !fihe                                               )
names ofall 1he defendants cannot fi1 in 1he space above, please                                               )
1.-ri1e "see al/ached" in the space and aflach cm addi1io11a/ page
with the full list ofnames. Do 110/ include addresses here.)
                                                                                                                                                             MAY
                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Prisoner Complaint)

                                                                                                     OTICE
  Federnl Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to electronic court files. Under thi, rule,
  papers filed with the court should not contain: an individual's full social security number or full birth date: the f'ull name of a person known 10 be a
  minor: or a complete financial accounl number. A filing may include only: the last four digits ofa social security number: the year ofan individual's
  birth, a minor·s ini11als; and the last four digits of a financial account number.

  Except as noted in this form, plainliffneed not send exhibits. affidav its, grievance or witness statements, or any other materials to the Clerk's Office wil h
  this complaint.

 The Clerk will nol file a civil complaint unless the person seeking relief pays th~ cn1irc filing fee (currently $350) and an administrative fee (currently
 $50) m advance. or the person applies for and is granted in form a pauperis status pursuant to 28 U S.C. § 19 15. A prisoner who seeks to proceed in
 formn pauperis musl s ubmit to the Clerk ( I) a completed affidavit of poverty and (2) a copy or1hc trust fund account statement for the prisoner for the
 six month period immediately preceding the filing of the complaint, obtained frtim and certified a~ correct by the 11ppropriatc official of each prison at
 which the prisoner is or was con lined for the preceding six months. See 28 U.S.C. § 19 I 5(a)(2).

 If the Judge enters an order granting a prisoner's application to proceed in fonna paupcris, th.:n lhe order will assess the filing fee (currently .$350)
 against U1e prisoner and collect the fee by directing the agency having custody of the prisoner to deduct an initial partial fil ing fee equal to 20% of the
 greater of the average monthly deposils to the prison account or the average monthly balance in the prison account for the six-month period immediately
 preceding the filing of the complaint, as ,yell,¥ ljlQ_•j~ lil'l'.Jt.ti1Jli!1tr'.Jl@ments equal to 20% of 1he preceding month' s income credit"d to the acctiunt for
 each mon1h that the balance of the nccohpt,:xc.;clls'$~ \Mo-: uri¼n\~ entire filing fee has been paid See 28 U.S .C. ~ 191 S(b ), A prisoner who is
 g ra nted lea\'c to procted in form a paupcris is obligattd to p~ fl}.~rc filing fee rcga rdkss or the outron1c or the proceeding, and is not
 entitl~d to the retur n or a ny paymcn ~1.~ t;l'ifd eNre;.iH \l!.Uf.

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I.        The Parties to This Complaint

          A.            The Plaintiff(s)

                        Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                        needed.
                                   N ame
                                   All other names by which
                                   you have been known:
                                   TD Number
                                   Current Institution
                                   Address

                                                                                                      Staie              Zip Code


           B.           The Defendant(s)

                        Provide the information below for each defendant named in the complaint, whether the defendant is an
                        individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                        listed below are identical to those contained in the above caption. For an individual defendant, include
                        the person's job or title (if known) and check whether you are bringing this complaint against them in their
                        individual capacity or official capacity, or both. Attach additional pages if needed.

                        Defendant No. 1
                                   Name
                                   Job or Title (if known)
                                   Shield Number
                                   Employer
                                   Address
                                                                             \_t>e•_,    k            ) <
                                                                                         City         Staie              Zip Code

                                                                        D Individual capacity    [3o fficial capacity


                        Defendant No. 2
                                   Name
                                                                                                              cJ   '
                                   Job or Title (ifl,,710wn)
                                   Shield Number
                                   Employer
                         ,         ~ddress
                 '!d ALNn08 S>IH38
                                                                                        ' City        State              Zip Code
                8Z :z Wd £ I J.~W UlDl
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                                                                        D Individual capacity    [2l'Dfficial capacity
                   A~        f •       ...,   , \ \.,..,   •   \




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                                     Defendant No. 3
                                              Name
                                              Job or Title (ifknown)
                                              Shield Number
                                              Employer
                                              Address

                                                                                                 City                 State                  Zip Code

                                                                                    D Individual capacity D Official capacity
                                     Defendant No. 4
                                              Name
                                              Job or Title (ifknown)
                                                  Shield Number
                                              Employer
                                              Address

                                                                                                 City                  State                 Zip Code

                                                                                    D Individual capacity D Official capacity
II.               Basis for Jurisdiction

                  Under 42 U.S.C. § l 983, you may sue state or local officials for the "deprivation of any rights, privileges, or
                  immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
                  Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
                  constitutional rights.

                  A.                 Are you bringing suit against (check all that apply):

                                     D Federal officials (a Bivens claim)
                                     0            State or local officials (a § 1983 claim)

                  8.                 Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                                     the Constitution and [federal laws]." 42 U .S.C. § 1983. If you are suing under section 1983, what
                                     federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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            . f'\ ,.., ,..           are sum~ finder Bivens, what constitutional right(s) do you claim is/are being violated by federal
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           D.        Section 1983 allows defendants to be found liable only when they have acted " under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.                   ~ , ~ ::. .., <1. 1,-..       1.. ~   , a ~ ~
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III.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows (check all that apply):
          ~ Pretrial detainee
          D           Civilly committed detainee

          D           Immigration detainee

          D           Convicted and sentenced state prisoner

          D           Convicted and sentenced federal prisoner

          D           Other (explain)

IV.       Statement of Claim

          State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
          any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach additional pages if needed.


          A.          If the events giving rise to your claim arose outside an institution, describe where and when they arose.




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         C.            What date and approximate time did the events giving rise to your claim(s) occur?




         D.




                                       ' •              '           I                                                            J           '
V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive. :s_ \,,._,,    t '\ .            ¥,I? ~-    A.,<'                                                         \-           "J            \ \o-;,y   \ . __\
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VI.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims. \             \..   ~ .J. ' \ ( c         , " 1• '\r. " • /
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VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that " [n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other correctional facility until such administrative remedies as are available are
         exhausted."

         Administrative reme9ies are also known as grievance procedure s. Your case may be dismissed if you have not
         exhausted your administrative remedies. .

         A.          Did your claim(s) ar ise while you were confined in a jail, prison, or other correctional facility?
                          /                                                                 -~-·
                     [3       Yes

                     •        No

                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




                          ·bee \Ls                ( c".(\ \ ,1I ·~ ,·. . , \ S      ,S·\--c""<Y)
                                                                                    I
          B.          Does the jail, prison, or o ther correctional facility where your claim(s) arose have a grievance
                      procedure?

                      ~              s

                     •        No

                      D Do not know
          C.          Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                      cover some or all of your claims?

                      D Yes
                     •        No
                           ,,,,.--
                      0       Do not know

                      If yes, which c laim(s)?


                                                                  ez :z Wd   £ I H'W OlOl



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         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?




                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      D Yes
                      [a~
                        No


          E.          If you did file a grievance:

                      I.    Where did you file the grievance?




                      2.    What did you claim in your grievance?
                               \    ~(    ::> '>   -.:-s.....       t. ' '\;' _\    ,\ '\} \c '\".•..... I\'\- .. . ./'\ ':') -~<->




                      3.    W11at was the result, if any?

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                      4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not (Describe all efforts to appeal to the highest level of the grievance process.)
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      F.       If you did not file a grievance:

               1.   If there are any reasons why you did not file a grievance, state them here:




               2.   If you did not file a grievance but you did inforn1 officials of your claim, state ,vho you informed,
                    when and how, and their response, if any:




      G.       Please set forth any additional information that is relevant to the exhaustion of your administrative
               remedies.




               (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
               administrative remedies.)


VIII. Previous Lawsuits

      The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
      the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility ,
      brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
      malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
      danger of serious physical injury." 28 U.S.C. § l 9 l 5(g).

      To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

      D Yes
      [a"No

      If yes, state which court dismissed your cas~, ~11WH1{};3><SWerg e-nd attach a copy of the order if possible.

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         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                      D        Yes
                           /
                      [2I      No


         B.           If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lmvsuit, describe the additional lawsuits on another page, using the same format.)


                      I.       Parties to the previous lawsuit
                               Plaintims)
                               Defendant( s)

                      2.       Court (iff ederal court, name the district; ifstate court, name lhe county and State)



                      3.       Docket or index number



                      4.       Name of Judge assigned to your case



                      5.       Approximate date of filing lawsuit



                      6.       Ts the case still pending?

                            0Yes

                            •       No

                               If no, give the approximate date of disposition.


                      7.       \Vhat was the result of the case? (For example: Was the case dismissed? Was judgment entered
                               in your favor? Was the case appealed?)


                                                                                Vd ·.1-1Nno~ S~838
                                                                            82 :z Wd £ I lVW 07.0Z
          C.          Have you filed other lawsuits in state or fedei al t;;61ir~8th'erw1se '.relating to the conditions of your
                      imprisonment?



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                     D      Yes

                     [2]~

         D.           If your answer to C is yes, describe each lawsuit by answering questions l through 7 belO\v. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      I.    Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)

                      2.    Court ((/federal court, name the district; tfstate court, name the county and State)




                      3.    Docket or index number



                      4.    Name of Judge assigned to your case



                      5.    Approximate date of filing lawsuit



                      6.    Is the case still pending?




                            If no, give the approximate date of disposition

                      7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your fcl'vor? Was the case appealed?)




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IX.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is suppo1ied by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties \Vithout an Attorney

                      I agree to provide the C lerk's Office with any changes to my address where case-related papers m ay be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal ofmy case.


                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff
                      Prison Identification #
                      Prison Address                              \1-~1     Cn,f\ \-f L..)" \~~ 12.. 6.
                                                                \ ee--:,.,-x:,< ·'\           . S?c...
                                                                              \   City          State       Zip Code



         B.           For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      N ame of Law Firm
                      Address


                                                                                  City          Stale       Zip Code

                      Telephone Number
                      E-mail Address




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           1287 County Welfare Rd       . ~        iJ     Q
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